         Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 1 of 86
                                               EXHIBIT A
                                                                                       CLERK OF SUPERIOR COURT
                                                                                       FULTON COUNTY, GEORGIA
                                                                                       2022CV373697
                      IN THE SUPERIOR COURT OF FULTON COUNTY
                                                                                        DEC 08, 2022 09:23 AM
                                        STATE OF GEORGIA

                                                       )
  AUDREY STEPHENS,                                     )
                                                       )
        Plaintiff,                                     )
                                                       )   CIVIL ACTION FILE NO.
  vs.                                                  )
                                                       )   ___________________________
  JACK EDWARD WALL, GUSTAVO                            )
  JIMENEZ, INC. DBA SOUTHWEST                          )
  FREIGHT LINES, and BERKLEY                           )
  PRIME TRANSPORTATION                                 )   JURY TRIAL DEMAND
  INSURANCE COMPANY,                                   )
                                                       )
        Defendants.                                    )




                                           COMPLAINT

          NOW COMES AUDREY STEPHENS, Plaintiff, by and through her counsel of record,
and files this Complaint for Damages against the above-named Defendants showing the Court as
follows:
                              PARTIES, JURISDICTION & VENUE


                                                  1.
          Plaintiff is a resident and citizen of the State of Georgia, and resides at 1133 Commerce
Drive Apt 504, Decatur, Dekalb County, Georgia 30030. Plaintiff is subject to the jurisdiction of
this Court.
                                                  2.
          Defendant Jack Edward Wall (hereinafter “Defendant Wall”) is a resident of the State of
Texas, and may be served with the Complaint and Summons at his residence located at 195
Horizon Point Circle, Horizon City, El Paso County, Texas 79928.
       Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 2 of 86
                                               EXHIBIT A




                                                  3.
       Defendant Gustavo Jimenez, Inc. DBA Southwest Freight Lines (hereinafter “Southwest
Freight Lines”) is a foreign corporation authorized to transact business in the state of Georgia
and was operating as either a motor common carrier or a motor contract carrier the date of the
incident giving rise to this Complaint, and at all material times hereto. Defendant Southwest
Freight Lines has its principal place of business at 11991 Transpark Drive, El Paso, Texas 78045,
and may be served with the Complaint and Summons through its registered agent Cody Gillies at
5704 Veterans Parkway, Columbus, Georgia 31904. Defendant Southwest Freight Lines is
subject to the jurisdiction and venue of this Court.
                                                  4.
       Defendant Berkley Prime Transportation Insurance Company (hereinafter “Berkley
Prime Transportation”) is a foreign corporation existing under the laws of the State of
Connecticut with its principal place of business at 475 Steamboat Road Greenwich, CT 06386.
Defendant Berkley Prime Transportation may be served with the Complaint and Summons
through its registered agent CT Corporation System at 289 S Culver Street, Lawrenceville,
Georgia 30046 Defendant Berkley Prime Transportation is subject to the jurisdiction and venue
of this Court.
                                                  5.
       By virtue of the facts alleged herein, jurisdiction and venue are proper in this Court.


                                  FACTUAL BACKGROUND


                                                  6.
       Plaintiff realleges and incorporates herein by reference all preceding paragraphs of this
Complaint as if each were fully set forth in their entirety.
                                                  7.
       The allegations and claims for relief contained in this Complaint result from a collision
between Defendant Wall and Plaintiff on December 7, 2020 at approximately 6:14 p.m. on
Interstate 20 near its intersection with Interstate 285 in Fulton County, Georgia.
       Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 3 of 86
                                                EXHIBIT A




                                                   8.
        At the aforementioned time and date, Defendant Wall was operating a 2001 KW T680
Tractor Trailer (hereinafter “tractor trailer”),Vehicle Identification Number
1XKYD49X7MJ449517, trailer tag number R501956 containing United States Department of
Transportation Number 306537, traveling west on Interstate 20 near its intersection with
Interstate 285 in Fulton County, Georgia.
                                                   9.
        At the aforementioned time and date, Plaintiff was traveling west on Interstate 20 near its
intersection with Interstate 285 in Fulton County, Georgia.
                                                  10.
        At the aforementioned time and date, Defendant Wall was traveling in lane #2 and
Plaintiff was traveling in lane # 3. Defendant Wall entered into the lane of travel of the Plaintiff,
striking her vehicle on the left side with the right side of his vehicle.
                                                  11.
        As a result of the collision, Plaintiff suffered bodily injuries.
                                                  12.
        Plaintiff could not have, in the exercise of reasonable care, avoided the collision or her
injuries.
                                              COUNT 1
                           NEGLIGENCE OF DEFENDANT WALL


                                                  13.
        Plaintiff realleges and incorporates herein by reference all preceding paragraphs of this
Complaint as if each were fully set forth in their entirety.
                                                  14.
        Defendant Wall had a duty of reasonable care to Plaintiff and other motorists on the road.
                                                  15.
        Defendant Wall was negligent and/or negligent per se in that he, among other things:
                a. Failed to maintain control of the tractor trailer;
                b. Failed to maintain his lane;
       Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 4 of 86
                                               EXHIBIT A




               c. Failed to keep a proper and diligent lookout;
               d. Failed to operate the tractor-trailer in accord with generally accepted safety
                    principles and practices of the trucking industry; and
               e. Otherwise failed to operate the tractor-trailer as a reasonable and prudent
                    professional driver under the circumstances.
                                                 16.
        The negligent acts or omissions of Defendant Wall directly and proximately caused the
collision, Plaintiff’s damages and injuries.
                                                 17.
        Defendant Wall is liable to Plaintiff for all recoverable damages.


                                               COUNT 2
RESPONDEAT SUPERIOR, NEGLIGENT HIRING, RETENTION, ENTRUSTMENT &
            SUPERVISION OF DEFENDANT SOUTHWEST FRIEGHT LINES


                                                 18.
        Plaintiff realleges and incorporates herein by reference all preceding paragraphs of this
Complaint as if each were fully set forth in their entirety.
                                                 19.
        At all times material to this case, Defendant Wall was an employee or agent of Defendant
Southwest Freight Lines acting within the course and scope of his employment or agency.
                                                 20.
        Under the principles of respondeat superior, actual agency, apparent agency, and/or lease
liability, Defendant Southwest Freight Lines is vicariously liable for the negligent acts and
omissions of Defendant Wall which led to the injuries of Plaintiff.
                                                 21.
        Defendant Southwest Freight lines was negligent in the hiring, retention, training and
supervision of Defendant Wall, which negligence caused or contributed to cause Plaintiff’s
injuries.
       Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 5 of 86
                                                  EXHIBIT A




                                                    22.
       Defendant Southwest Freight Lines knew, or, in the exercise of ordinary care, should
have known that hiring, retaining, and entrusting Defendant Wall with a large and heavy tractor
trailer to operate on public roadways created a high degree of probability of injury to others.
                                                    23.
       Defendant Southwest Freight Lines is liable to Plaintiff for all recoverable damages.


                                              COUNT 3
 FAILURE TO COMPLY WITH FEDERAL AND STATE MOTOR CARRIER SAFETY
         REGULATIONS AND TRUCKING INDUSTRY STANDARDS OF CARE


                                                    24.
       Plaintiff realleges and incorporates herein by reference all preceding paragraphs of this
Complaint as if each were fully set forth in their entirety.
                                                    25.
       Defendant Southwest Freight Lines is negligent and negligent per se for operating the
Defendant Wall, the commercial motor vehicle driver and the aforementioned commercial motor
vehicle outside the promulgated standards of care established by the Department of
Transportation, the Federal Motor Carrier Safety Administration and the Georgia Department of
Public Safety.
                                                    26.
       Defendant Southwest Freight Lines is negligent for operating the Defendant Wall, the
commercial motor vehicle driver and the aforementioned commercial motor vehicle outside the
trucking industry best practices and standards of care.
                                                    27.
       Defendant Southwest Freight Lines actions enumerated in this Count caused or
contributed to cause the injuries of Plaintiff.
                                                    28.
       Defendant Southwest Freight Lines is liable to Plaintiff for all recoverable damages.
       Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 6 of 86
                                               EXHIBIT A




                                             COUNT 4
                                          DIRECT ACTION


                                                 29.
       Plaintiff realleges and incorporates herein by reference all preceding paragraphs of this
Complaint as if each were fully set forth in their entirety.
                                                 30.
       Plaintiff has sustained actionable injury or loss by reason of the negligence of Defendant
Wall in the operation of the Tractor Trailer and Defendant Southwest Freight Lines in its
operations as a motor common carrier.
                                                 31.
       Defendant Berkley Prime Transportation issued a policy of liability (indemnity)
insurance which insured Defendant Wall and Defendant Southwest Freight Line for its operation
as a motor common carrier.
                                                 32.
       Said liability policy issued by Defendant Berkley Prime Transportation was in force and
effect on the date of the event which is the subject of this litigation to wit: December 7, 2020
                                                 33.
       Defendant Berkley Prime Transportation was the insurer of Defendant Southwest Freight
Lines at the time of the subject incident and issued a liability policy to comply with the filing
requirements under Georgia law.
                                                 34.
       The policy number of said liability policy issued by Defendant Berkley Prime
Transportation is 6505130.
                                                 35.
       Defendant Berkley Prime Transportation is subject to a direct action as the insurer for
Defendant Southwest Freight Lines pursuant to Georgia law.
                                                 36.
       All elements necessary to sue Defendant Berkley Prime Transportation under the Georgia
Direct Action law are met in this case.
        Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 7 of 86
                                              EXHIBIT A




                                                  37.
        Accordingly, Defendant Berkley Prime Transportation is joined in this lawsuit pursuant
to the authority of O.C.G.A. §§ 40-1-112, 40-2-140, and is liable as provided by law to satisfy
any judgment in this case.
                                                  38.
        Defendant Berkley Prime Transportation is responsible for any judgment rendered
against Defendant Wall and Defendant Southwest Freight Lines.


                                       COUNT 5 DAMAGES


                                                  39.
        As a direct and proximate result of tortfeasors’ combined negligence, Plaintiff suffered,
among other things, Injuries to the cervical spine, lumbar spine, and thoracic spine, including
herniated discs, disc protrusions, disc bulges.
                                                  40.
        As a direct and proximate result of tortfeasors’ combined negligence, Plaintiff has
incurred past medical expenses in the amount of $25,882.72 and will continue to incur future
medical expenses in an amount which will be further specified at a trial of this matter.
                                                  41.
        As a direct and proximate result of Tortfeasors’ combined negligence, Plaintiff was
unable to work and has a claim for past lost wages in an amount which will be further specified
at a trial of this matter.
                                                  42.
        As a direct and proximate result of tortfeasors’ combined negligence, Plaintiff has
incurred extensive pain and suffering directly effecting her quality of life. The pain and suffering
including but not limited to the mental anguish she endures for an amount which will be further
specified at a trial of this matter.
                                                  43.
        Tortfeasors’ combined negligence is the sole and proximate cause of Plaintiff’s injuries.
         Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 8 of 86
                                               EXHIBIT A




                                             COUNT 6
                                      PUNITIVE DAMAGES


                                                 44.
         Plaintiff realleges and incorporates herein by reference all preceding paragraphs of this
Complaint as if each were fully set forth in their entirety.
                                                 45.
         The actions of Defendant Wall and Defendant Southwest Freight Lines authorize the
imposition of punitive damages, pursuant to the provisions of O.C.G.A § 51-12-5.1 in that such
actions show willful misconduct, malice, wantonness, oppression or that entire want of care
which would raise the presumption of conscious indifference to the consequences.
                                                 46.
         Accordingly, Defendant Wall and Defendant Southwest Freight Lines are liable to
Plaintiff for punitive damages to punish, penalize, and deter said Tortfeasors from similar
conduct in the future.


    WHEREFORE, Plaintiff prays for and demands the following:


    a.    For a trial by jury;
    b. For Summons and Complaint to issue against the Defendants;
    c. That the Defendants be required to appear as provided by law to answer the allegations
         of this Complaint;
    d. For judgment against the Defendants, jointly and severally, to compensate Plaintiff for
         her pain and suffering, past, present, and future; which said sum exceeds the amount of
         $75,000.00;
    e. For judgment against the Defendants, jointly and severally, in an amount sufficient to
         compensate Plaintiff for the medical expenses incurred to date, as well as for medical
         expenses which will be incurred in the future;
      Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 9 of 86
                                            EXHIBIT A




 f. For judgment against the Defendants, jointly and severally, in an amount sufficient to
      compensate Plaintiff for lost wages incurred, including future lost wages or ability to
      earn income;
 g. For judgment against the Defendants, jointly and severally, in an amount sufficient to
      compensate Plaintiff for all such other economic and non-economic loses as may be
      shown at the hearing of this matter to the full extent allowed under Georgia law;
 h. That Plaintiffs obtain judgment against the Defendants in an amount determined to be
      fair and reasonable in the minds of a fair and impartial jury;
 i.   That Plaintiffs obtain judgment against the Defendants for Punitive damages in an
      amount the jury believes to be just, fair and equitable, given the facts and issues in this
      case;
 j.   That Plaintiff recovers from the Defendants a sum of damages to compensate for
      attorney’s fees and costs of litigation pursuant to O.C.G.A. § 13-6-11;
 k. That court costs, discretionary costs, and prejudgment interest be awarded to the
      Plaintiff;
 l.   That all costs be taxed against the Defendants, and;
 m. For all such further and general relief which this Court deems just and proper.


        This 2nd day of December, 2022.


                                               Sincerely,

                                               LAW OFFICE OF TAMARA ANSARI, LLC

                                               /s/ Tamara Ansari
                                              Tamara Ansari
                                              Georgia Bar Number 053696
                                              Attorney for Plaintiff

30 Second Street
Jackson, Georgia 30233
(844) 945-5488 - phone
(404) 601-3891 - fax
tamara@tansarilaw.com
        Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 10 of 86
                                                    EXHIBIT A
                                                                                                  CLERK OF SUPERIOR COURT
                                                                                                  FULTON COUNTY, GEORGIA
                                                                                                  2022CV373697
                                                                                                  DEC 08, 2022 09:23 AM


             IN THE SUPERIOR COURT OF FULTON COUNTY, GEORGIA
                     136 PRYOR STREET, ROOM C-103, ATLANTA, GEORGIA 30303
                                          SUMMONS

                                                           )
Stephens, Audrey                                           )   Case
                                                           )   No.: 2022CV373697
                                                           )
                                                           )
                                                           )
                      Plaintiff,                           )
                                                           )
  vs.                                                      )
                                                           )
                                                           )
Wall, Jack                                                 )
                                                           )
                                                           )
GUSTAVO JIMENEZ, INC. , DBA SOUTHWEST                      )
FREIGHT LINES                                              )
                                                           )
                                                           )
BERKLEY PRIME TRANSPORTATION                               )
INSURANCE COMPANY                                          )
               Defendant                                   )
                                                           )

TO THE ABOVE NAMED DEFENDANT(S):

You are hereby summoned and required to file electronically with the Clerk of said Court at
https://peachcourt.com/ (unless you are exempt from filing electronically) and serve upon plaintiff’s attorney,
whose name and address is:

                           TAMARA ANSARI
                           LAW OFFICE OF TAMARA ANSARI, LLC
                           1300 Ridenour Boulevard
                           Suite 100
                           Kennesaw, Georgia 30152

An answer to the complaint which is herewith served upon you, within 30 days after service of this summons
upon you, exclusive of the day of service; unless proof of service of this complaint is not filed within five (5)
business days of such service. Then time to answer shall not commence until such proof of service has been
filed. IF YOU FAIL TO DO SO, JUDGMENT BY DEFAULT WILL BE TAKEN AGAINST YOU FOR
THE RELIEF DEMANDED IN THE COMPLAINT.

This              8th day of        December, 20 22
                                                           Honorable Cathelene “Tina” Robinson
                                                           Clerk of Superior Court




To defendant upon whom this petition is served:
This copy of complaint and summons was served upon you __________________________________, 20_____
      Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 11 of 86
                                                            EXHIBIT A




                                                                                                       Deputy Sheriff

Instructions: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum is used
        Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 12 of 86
                                                    EXHIBIT A
                                                                                                  CLERK OF SUPERIOR COURT
                                                                                                  FULTON COUNTY, GEORGIA
                                                                                                  2022CV373697
                                                                                                  DEC 08, 2022 09:23 AM


             IN THE SUPERIOR COURT OF FULTON COUNTY, GEORGIA
                     136 PRYOR STREET, ROOM C-103, ATLANTA, GEORGIA 30303
                                          SUMMONS

                                                           )
Stephens, Audrey                                           )   Case
                                                           )   No.: 2022CV373697
                                                           )
                                                           )
                                                           )
                      Plaintiff,                           )
                                                           )
  vs.                                                      )
                                                           )
                                                           )
Wall, Jack                                                 )
                                                           )
                                                           )
GUSTAVO JIMENEZ, INC. , DBA SOUTHWEST                      )
FREIGHT LINES                                              )
                                                           )
                                                           )
BERKLEY PRIME TRANSPORTATION                               )
INSURANCE COMPANY                                          )
               Defendant                                   )
                                                           )

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                           Suite 100
                           Kennesaw, Georgia 30152

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This              8th day of        December, 20 22
                                                           Honorable Cathelene “Tina” Robinson
                                                           Clerk of Superior Court




To defendant upon whom this petition is served:
This copy of complaint and summons was served upon you __________________________________, 20_____
      Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 13 of 86
                                                            EXHIBIT A




                                                                                                       Deputy Sheriff

Instructions: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum is used
        Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 14 of 86
                                                    EXHIBIT A
                                                                                                  CLERK OF SUPERIOR COURT
                                                                                                  FULTON COUNTY, GEORGIA
                                                                                                  2022CV373697
                                                                                                  DEC 08, 2022 09:23 AM


             IN THE SUPERIOR COURT OF FULTON COUNTY, GEORGIA
                     136 PRYOR STREET, ROOM C-103, ATLANTA, GEORGIA 30303
                                          SUMMONS

                                                           )
Stephens, Audrey                                           )   Case
                                                           )   No.: 2022CV373697
                                                           )
                                                           )
                                                           )
                      Plaintiff,                           )
                                                           )
  vs.                                                      )
                                                           )
                                                           )
Wall, Jack                                                 )
                                                           )
                                                           )
GUSTAVO JIMENEZ, INC. , DBA SOUTHWEST                      )
FREIGHT LINES                                              )
                                                           )
                                                           )
BERKLEY PRIME TRANSPORTATION                               )
INSURANCE COMPANY                                          )
               Defendant                                   )
                                                           )

TO THE ABOVE NAMED DEFENDANT(S):

You are hereby summoned and required to file electronically with the Clerk of said Court at
https://peachcourt.com/ (unless you are exempt from filing electronically) and serve upon plaintiff’s attorney,
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                           TAMARA ANSARI
                           LAW OFFICE OF TAMARA ANSARI, LLC
                           1300 Ridenour Boulevard
                           Suite 100
                           Kennesaw, Georgia 30152

An answer to the complaint which is herewith served upon you, within 30 days after service of this summons
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This              8th day of        December, 20 22
                                                           Honorable Cathelene “Tina” Robinson
                                                           Clerk of Superior Court




To defendant upon whom this petition is served:
This copy of complaint and summons was served upon you __________________________________, 20_____
      Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 15 of 86
                                                            EXHIBIT A




                                                                                                       Deputy Sheriff

Instructions: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum is used
            Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 16 of 86
                                         EXHIBIT A
                                                                            CLERK OF SUPERIOR COURT
                                                                            FULTON COUNTY, GEORGIA
                                             Fulton                         2022CV373697
                                                                            DEC 08, 2022 09:23 AM

               12-08-2022                             2022CV373697




Stephens, Audrey                            Wall, Jack

                                            GUSTAVO JIMENEZ, INC.


                                            BERKLEY PRIME TRANSPORTATION INSURANCE COMPANY




                   ANSARI, TAMARA                        053696
    Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 17 of 86
                                               EXHIBIT A                                  =   EFILED IN OFFICE
                                                                                        CLERK OF SUPERIOR COURT
                                                                                        FULTON COUNTY, GEORGIA
                                                                                         2022CV373697
                                                                                         DEC 12, 2022 04:59 PM
                          IN THE SUPERIOR COURT OF FULTON COUNTY
                                                                                          gm Qii/                       _




                                           STATE OF GEORGIA                                         Fu.?;'n"§l,i"n'iy


                                                     )
   AIJDREY STEPHENS,                                 )
                                                     )
         Plaintifi',                                 )
                                                     )
   VS-
                                                           CIVIL ACTION       FEE N0.
                                                     )
   JACK EDWARD WALL, GUSTAVO                         )
   JIMENEZ, INC. DBA SOUTHWEST                                     202207373697
                                                     )
   FREIGHT LINES, and BERKLEY
   PRIME TRANSPORTATION                              )
   INSURANCE COMPANY,                                )
                                                     )
         Defendants.                                 )



    PETITION TO RELATE THE DATE OF FILING BACK TO THE DATE OF THE
                        FIRST FILING ATTEMPT


          NOW COMES AUDREY STEPHENS, Plaintiff, by and through her counsel of record;

and ﬁles this PETITION TO RELATE THE DATE OF FILING BACK TO THE DATE OF

THE FIRST FILING ATTEh/IPT pursuant to Section 6 of the Supeiior Court of Fulton
                                                                                         County

Standing Order Regarding Electronic Filing for Civil Cases, ﬁle stamped October 12, 2018,

showing the Court as follows:


                                               FACTS

          Plaintiff originally submitted the Complaint for electronic ﬁling on December 2, 2022.

Plaintiff received a "ﬁling submitted" receipt on the same date. (See Exhibit "A").
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                                              EXHIBIT A




          On December 6, 2022, Plaintiff s Counsel contacted Peachcourt via telephone regarding

the status of the ﬁling. Plaintiffs Counsel was informed that the ﬁling was waiting in the Fulton


County Clerk's ﬁling portal, that "they might be backed up," and that the EDocument was still

pending review by the Fulton County Clerk's Ofﬁce.


          On December 7, 2022, Plaintiff's Counsel contacted the Fulton County Clerk's Ofﬁce via

telephone regarding the status of the ﬁling, and was informed that the ﬁling was still pending

review.


          On December 8, 2022, at 8:49 am, Plaintiﬁ' received an email from Peachcourt stating

that the eFiling submitted on 12/2/2022 was not accepted by the Clerk of Fulton County Superior

Court due to nonpayment of fees for additional parties. (See Exhibit "B").


          On December 8, 2022, at 9:04 am, Plaintiff resubmitted the eFiling (See Exhibit "C"),

then immediately contacted the Fulton County Clerk's Ofﬁce for assistance regarding the correct

method to pay the additional fees. The Fulton County Clerk's Ofﬁce advised Plaintiff's Counsel

regarding the method to pay the additional fees; and told Plaintiff's Counsel to resubmit the

eFiling again because eFilings cannot be edited Aﬂer being advised by the Fulton County

Clerk's Ofﬁce, Plaintiff re-submitted the eFiling for a second time at 9:23 am. on December 8,

2022. (See Exhibit "D").


          On December 9, Plaintiﬁ' received an email from Peachcourt stating that the eFiling

submitted at 9:04 am. on December 8, 2022, had been rejected due to nonpayment of fees for

additional parties. (See Exhibit "E") On December 9, 2022, Plaintiﬁ' received another email

from Peachcourt stating that the eFiling submitted at 9:23 am. on December 8, 2022, was
    Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 19 of 86
                                                EXHIBIT A




 accepted. (See Exhibit "F "). The Complaint was stamp-ﬁled for December 8, 2022. (See

 Exhibit "G").


                                        LEGAL AUTHORITY

         Section 6C of the Superior Court of Fulton County Standing Order
                                                                               Regarding Electronic

 Filing for Civil Cases states in pertinent part:

        Clerk of Court Review: Acceptance/Rejection Procedure.
                                                                   Following submission of an E
        Document, the Clerk of Court shall timely review the EDocument. eFileGA shall notify
        the ﬁling party Via email as to whether the ﬁling was
                                                               accepted or rejected. Upon
        acceptance, the submitted E-Document shall be entered into the docket of the case. An E-
        Document shall be deemed to have been ﬁled as of the date and time it was
                                                                                     initially E-
        Filed as deﬁned above in Paragraph 6(A) and not the date and time it was
                                                                                   accepted by the
        Clerk of Court. (Example: an EDocument E-Filed at 9: 15 pm. on
                                                                             Friday 31 August
        2018 and accepted by the Clerk of Court at 3: 18       on          4
                                                          pm.     Tuesday September 2018 (the
        ﬁrst business day after 31 August 2018 was ﬁled on 31
                                                                August 2018.)

        If an E-Document is rejected by the Clerk of Court, and a ﬁler wishes to
                                                                                     challenge the
        rejection and/0r relate the date of ﬁling back to the date of the ﬁrst ﬁling attempt, the ﬁler
        must petition the Court for such relief.

    Section 6(D)(3) of the Superior Court of Fulton County
                                                              Standing Order Regarding Electronic


    Filing for Civil Cases states in pertinent part:

        In accordance with Uniforms Superior Court Rule
                                                          36.16(F), if E-ﬁling or EService of an
        E-Document does not occur because of. . .a failure to timely process the edocument when
        received by eFileGA. . .the Court may upon satisfactory proof enter an order
                                                                                     permitting
        the E-Document to be ﬁled mmc pro tune to the date it was ﬁrst
                                                                          attempted to be
        transmitted electronically.

   Furthermore, O.C.G.A. 15-6-11(b)(4)(e) states in perinate part:

   Any pleading or document ﬁled electronically shall be deemed ﬁled as of the time of its
   receipt by the electronic ﬁling service provider.

                                          CONCLUSION
       In summary, Plaintiffs submission was not timely reviewed and
                                                                           processed by the Fulton
County Superior Court Clerk's Ofﬁce. Plaintiff originally ﬁled the eDocument on December 2,
   Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 20 of 86
                                            EXHIBIT A




2022; however, Plaintiff was not macie aware of the rejection until December 8, 2022 at 8:49
am. After Plaintiff's counsel was made aware of the rejection, the
                                                                     payment was made within 34
minutes and the ﬁling was ultimately accepted on December
                                                              9, 2022.


       WHEREFORE, Plainﬁﬁ prays for the following:
   (a) That the Court relate the date of ﬁling back to the date of the first ﬁling attempt, which is
       December 2, 2022; and

   (b) Direct that the Complaint be stamp-ﬁled with the date of December 2, 2022.


         This 12Eh day of December, 2022.

                                               Sincerely,

                                               LAW OFFICE OF TAMARA AN SARI, LLC

                                               /S/ Tamara Ansari
                                              Tamara Ansari
                                              Georgia Bar Number 053696
                                              Attorney for Plaintiff

 30 Second Street
 lackson, Georgia 30233
 (844) 945-5488 phone
                 




 (404) 601-3891 fax
                 -




 tamara§w§tansarilaw.com
                Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 21 of 86
                                                           EXHIBIT A

 Emiiy Spidle

 From:                               PeachCourt Notiﬁcations <notiﬁcations@peachcourt.com>
 Sent:                               Friday, December 2, 2022 8:00 PM
 To:                                 Tamara Ansari; Emily Spidle
 Subject:                            PeachCourt Activity Filing Received




 The following filing was received by PeachCourt and has been successfully transmitted to the Clerk of Fulton
                                                                                                                Superior
 Court. You will receive a separate conﬁrmation message if this
                                                                ﬁling is accepted by the clerk. We invite you to reply to
 this message if you have any questions.

Submission Date: 12/2/2022 at 8:00 PM
Peach #1 E-RJQGMBN3
Case #z Pending acceptance by clerk
Case Name: Stephens v Wall

Documents

Complaint: Complaint for Damages
Audrey Stephens Complaint for Damagespdf

Summons: Summons for Wall, Jack.
System Generated Summons

Case information Form: Case information Form
System Generated Case Information Form

Unexecuted Sheriff's Entry of Service for Wall, Jack. Note: ﬁler is responsible for
                                                                                      coordinating service.

Filer: TAMARA ANSARl

Payment amount: $252.84

Court Filing Fee: General Civil: $214.00
eFiling Fee: $30.00
Convenience Fee: $8.84

Thank you for ﬁiing with PeachCourt, Georgia's eFiling and Document Access Solution.
If you have any questions about the status of this ﬁling, please call the PeachCourt
                                                                                     Support Center at 844-GA-EFILE (844-
4233453) and refer to Peach #ERJQGMBNB.




                                   We are here to help! Reach out however you like:

                                                  Reply to this message
                                                Call toll-free 844-GA-EFILE
                                           Chat at https://www.peachcourt.com/                                EXHIBIT
                                    Learn a lot at http://awesome.peachcourt.com/
                                                             1
               Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 22 of 86
                                                           EXHIBIT A


Emily Spidie

From:                                PeachCourt Notiﬁcations <notiﬁcations@peachcourt.com>
Sent:                                Thursday, December 8, 2022 8:49 AM
To:                                  Tamara Ansari; Emily Spidle
Subject:                             Your eFiling was NOT ACCEPTED.

Follow Up Flag:                      Follow up
Flag Status:                         Flagged




The CLERK OF FULTON COUNTY SUPERIOR COURT Chose to REJECT the eFiling submitted by TAMARA ANSARI on
12/2/2022 at 8:00 PM.

On 12/8/2022 at 8:48 AM, the CLERK OF FULTON COUNTY SUPERIOR COURT provided the following explanation:
NonPayment of Fees PLEASE AD THE ADDITIONL PARTY EE l $8.00 PER ADDITIONAL PARTY

Please keep the following in mind:

1. If you have any questions about why this ﬁling was REJECT ED, please contact the CLERK OF FULTON COUNTY
SUPERIOR COURT.
2. You can RESUBMIT this eFiling by following this link: www.peachcourt.com/File/Details/Resubmit?peachNumber=E~
RJQGMBN3
3. If you have any questions about the status of this filing or anything else regarding PeachCourt, please contact us
through our online chat at peachcourt.com or by calling 844-GA-EFILE. Please reference Peach Number E-RJQGMBNB.
4. You have not been charged for this filing.

This eFiling included the following documents:

Complaint: Complaint for Damages
Audrey Stephens Complaint for Damagespdf

Summons: Summons for Wall, Jack.
System Generated Summons

Case Information Form: Case Information Form
System Generated Case Information Form

Unexecuted Sheriff's Entry of Service for Wall, Jack. Note: filer is responsible for coordinating service.




                                     We are here to help! Reach out however you like:

                                                   Reply to this message
                                                 Call toll-free 844GA-EFILE
                                         Chat at https://www.peachcourt.com/
                                     Learn a lot at http://awesome.peachcourt.com/                           EXHIBIT

                                                                                                              F7)
                Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 23 of 86
                                                           EXHIBIT A


 Emil! Seidle
 From:                               PeachCourt Notiﬁcations <notiﬁcations©peachcourt.com>
 Sent:                               Thursday, December 8, 2022 9:05 AM
 To:                                 Tamara Ansari; Emily Spidle
 Subject:                            PeachCourt Activity Filing Received

 Follow Up Flag:                     Follow up
 Flag Status:                        Flagged



 The following ﬁling was received by PeachCourt and has been
                                                                successfully transmitted to the Clerk of Fulton Superior
 Court. You will receive a separate conﬁrmation message if this
                                                                 ﬁling is accepted by the clerk. We invite you to reply to
 this message if you have any questions.

 Submission Date: 12/8/2022 at 9:04 AM
 Peach #z ERJQGMBN3
 Case #: Pending acceptance by clerk
 Case Name: Stephens v Wall

 Documents

Complaint: Complaint for Damages
Audrey Stephens Complaint for Damagespdf

Summons: Summons for Wall, Jack.
System Generated Summons

Case information Form: Case information Form
System Generated Case Information Form

Unexecuted Sheriff's Entry of Service for Wall, Jack. Note: ﬁler is
                                                                      responsible for coordinating service.

Fiier: TAMARA ANSARl

Payment amount: $252.84

Court Filing Fee: General Civil: $214.00
eFiling Fee: $30.00
Convenience Fee: $8.84

Thank you for ﬁling with PeachCourt, Georgia's eFiling and Document Access Solution.
If you have any questions about the status of this
                                                   ﬁling, please call the PeachCourt Support Center at 844-GA-EFlLE (844-
4233453) and refer to Peach #ERJQGMBN3.




                                   We are here to help! Reach out however you like:
                                                                                                              EXIBIT
               Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 24 of 86
                                                           EXHIBIT A


Emil! Spidle
From:                                PeachCourt Notiﬁcations < notiﬁcations©peachcourt.com >
Sent:                                Thursday, December 8, 2022 9:24 AM
To:                                  Tamara Ansari; Emily Spidle
Subject:                             PeachCourt Activity Filing Received

Follow Up Flag:                      Follow up
Flag Status:                         Flagged




The following filing was received by PeachCourt and has been successfully transmitted to the Clerk of Fulton Superior
Court. You will receive a separate conﬁrmation message if this ﬁling is accepted by the clerk. We invite you to reply to
this message if you have any questions.

Submission Date: 12/8/2022 at 9:23 AM
Peach #2 EDHKE3RX3
Case #2 Pending acceptance by clerk
Case Name: Stephens v GUSTAVO JIMENEZ, INC. , et al

Documents

Complaint: Complaint for Damages
Audrey Stephens Complaint for Damages.pdf

Summons: Summons for Wall, Jack.
System Generated Summons

Summons: Summons for GUSTAVO JlMENEZ, INC. .
System Generated Summons

Summons: Summons for BERKLEY PRIME TRANSPORTATION INSURANCE COMPANY.
System Generated Summons

Case Information Form: Case Information Form
System Generated Case Information Form

Unexecuted Sheriff's Entry of Service for Wall, Jack. Note: filer is responsible f'or coordinating service.

Unexecuted Sheriff's Entry of Service for GUSTAVO JIMENEZ, INC. . Note: ﬁler is responsible for coordinating service.

Unexecuted Sheriff's Entry of Service for BERKLEY PRIME TRANSPORTATION INSURANCE COMPANY. Note: ﬁler is
responsible for coordinating service.

Filer: TAMARA ANSARI

Payment amount: $269.40

Court Filing Fee: General Civil: $214.00                                                                      EXHIBIT
eFiIing Fee: $30.00

                                                                                                               D
                Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 25 of 86
                                                            EXHIBIT A

 Emily Spidle

 From:                                PeachCourt Notifications <notiﬁcations@peachcourt.com>
 Sent:                                Friday, December 9, 2022 2:46 PM
 To:                                  Tamara Ansari; Emily Spidle
 Subject:                             Your eFiling was NOT ACCEPTED.




The CLERK OF FULTGN COUNTY SUPER§0R COURT chose to RELECT the
                                                              eFiiing submitted by TAMARA ANSARE on
12/8/2022 at 9:04 AM.

On 12/9/2022 at 2:45 PM, the CLERK OF FULTON COUNTY SUPERIOR COURT
                                                                  provided the following explanation:
Non-Payment of Fees PLEASE ADD THE PROPOER FEES FOR THE ADDITIONAL PARTIES IS $8.00 PER ADDITIONAL PARTY

PIease keep the following in mind:

1. If you have any questions about why this ﬁling was REJECT ED,
                                                                    please contact the CLERK OF FULTON COUNTY
SUPERIOR COURT.
2. You can RESUBMIT this eFiIing by foIlowing this link:
                                                          www.peachcourt.com/FiIe/DetaiIs/Resubmit?peachNumber=E-
RJQGMBN3
3. If you have any questions about the status of this
                                                      filing or anything else regarding PeachCourt, please contact us
through our online chat at peachcourt.com or by calling 844GAEFILE. Please reference Peach Number E-RIQGMBN3.
4. You have not been charged for this ﬁling.

This eFiIing included the following documents:

Complaint: Complaint for Damages
Audrey Stephens Complaint for Damagespdf

Summons: Summons for Wall, Jack.
System Generated Summons

Case Information Form: Case Information Form
System Generated Case Information Form

U nexecuted Sheriff's Entry of Service for Wall, Jack. Note: ﬁler is
                                                                       responsible for coordinating service.




                                    We are here to help? Reach out however you like:

                                                   Reply to this message
                                                 Call toll-free 844-GA-EFILE
                                          Chat at https://www.peachcourt.com/
                                     Learn a lot at http://awesome.peachcourt.com/



                                                                                                               EXHIBIT

                                                               1
                       Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 26 of 86
                                                               EXHIBIT A


 Emii! Spidle                                                      _                I                     _

 From:                                     PeachCourt Notiﬁcations <notiﬁcations®peachcourt.com>
 Sent:                                     Friday, December 9, 2022 2:50 PM
 To:                                       Tamara Ansari; Emiiy Spidie
 Subject:                                  PeachCourt Activity 2022CV373697: Filing Conﬁrmed




The foiiowing filing information has been accepted by the Clerk of Fulton Superior Court. We invite
                                                                                                    you to reply to this
message if you have any questions.

Filing Date: 12/8/2022 at 9:23 AM
Filer: TAMARA ANSARI
Peach #1 E-DHKE3RX3
Case #1 2022CV373697
Assigned Judge: SCE
Case Name: Stephens v GUSTAVO JIMENEZ, INC. , et al

Documents

A ﬁle-stamped copy of each document is available for you to download. The download link is available for 30
                                                                                                            days from
the time this message was sent.

If the links below are not clickable, please copy and paste each link into
                                                                             your browser.

Complaint       |
                                              
                    Complaint for Damages l httpszl/peachcourt.com/Redirect?id=ZUOGQAAi

Summons     |
                    Summons forWall, Jack. l https://peachcourt.com/Redirect?id=FSSLRRCJ

Summons     |
                    Summons for GUSTAVO JIMENEZ, INC. . l https://peachcourt.com/Redirect?id=GBROlJlC

Summons l Summons for BERKLEY PRlME TRANSPORTATION INSURANCE COMPANY.
                                                                      l
httpsz/lpeachcourt.com/Redirect?id=11NV4RZN

Case Information Form         I   Case Information Form l https://peachcourt.com/Redirect?id=A5AEL3YG

Sheriff's Entry of Service] Unexecuted Sheriff's Entry of Service for Wail, Jack. Note: Filer is
                                                                                                 responsible 'for coordinating
service. l https://peachcourt.com/Redirect?id=5AEOHJZO

Sheriff's Entry of Servicel Unexecuted Sheriff's Entry of Service for GUSTAVO JIMENEZ, INC. . Note: Filer is
                                                                                                             responsible
for coordinating service. l httns://peachcourt.com/Redirect?id=HMFLBTNL

Sheriff's Entry of Service] Unexecuted Sheriff's Entry of Service for BERKLEY PRIME TRANSPORTATION INSURANCE
COMPANY. Note: Filer is responsible for coordinating service. https:/'/peachcourt.com/Redirect?id=BNVHDGGS
                                                                    I




Payment amount: 5269.432:
Method of payment: CreditCard
Client Reference #2 N/A
                                                                                                               EXHIBIT
   Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 27 of 86
                                             EXHIBIT A




                        IN THE SUPERIOR COURT OF FULTON COUNTY
                                         STATE OF GEORGIA
                                                    )
  AUDREY STEPHENS,

        Plaintiff,

  VS-                                                    CIVIL ACTION FILE NO.

  JACK EDWARD WALL, GUSTAVO
                                                                  2022CV373697
  MNEZ, INC. DBA SOUTHWEST
  FREIGHT LINES, and BERKLEY
  PRIME TRANSPORTATION
  INSURANCE COMPANY,


        Defendants.



    PETITION TO RELATE THE DATE OF FILING BACK TO THE DATE OF THE
                        FIRST FILING ATTEMPT


          NOW COMES AUDREY STEPHENS, Plaintiff, by and through her counsel of record

and ﬁles this PETITION TO RELATE THE DATE OF FILING BACK TO THE DATE OF

THE FIRST FILING ATTEh/IPT pursuant to Section 6 of the Superior Court of Fulton County

Standing Order Regarding Electronic Filing for Civil Cases, ﬁle stamped October 12, 2018,

showing the Court as follows:


                                              FACTS

         Plaintiff originally submitted the Complaint for electronic ﬁling on December 2, 2022.

Plaintiff received a "ﬁling submitted" receipt on the same date. (See Exhibit "A").




                                                                                                  EXHIBIT

                                                                                                   (3
   Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 28 of 86
                                              EXHIBIT A




          On December 6, 2022, Plaintiff's Counsel contacted Peachcourt via telephone regarding

the status of the ﬁling. Plaintiff's Counsel was informed that the ﬁling was waiting in the Fulton


County Clerk's ﬁling portal, that "they might be backed up," and that the EDocument was still

pending review by the Fulton County Clerk's Ofﬁce.


          On December 7, 2022, Plaintiff" s Counsel contacted the Fulton County Clerk's Ofﬁce via

telephone regarding the status of the ﬁling, and was informed that the ﬁling was still pending

review.


          On December 8, 2022, at 8:49 am, Plaintiﬁ' received an email ﬁom Peachcourt stating

that the eFiling submitted on 12/2/2022 was not accepted by the Clerk of Fulton Count)! Superior

Court due to nonpayment of fees for additional parties. (See Exhibit "B").


          On December 8, 2022, at 9:04 am, Plaintiff resubmitted the eFiling (See Exhibit "C"),

then immediately contacted the Fulton County Clerk's Ofﬁce for assistance regarding the correct

method to pay the additional fees. The Fulton County Clerk's Oﬁ'ice advised Plaintiff's Counsel

regarding the method to pay the additional fees; and told Plaintiff s Counsel to resubmit the

eFiling again because eFilings cannot be edited. After being advised by the Fulton County

Clerk's Ofﬁce, Plaintiff re-submitted the eFiling for a second time at 9:23 am. on December 8,

2022. (See Exhibit "D").


          On December 9, Plaintiﬁ' received an email from Peachcourt stating that the eFiling

submitted at 9:04 am. on December 8, 2022, had been rejected due to non-payment of fees for

additional parties. (See Exhibit "E") On December 9, 2022, Plaintiﬁ' received another email

from Peachcourt stating that the eFiling submitted at 9:23 am. on December 8, 2022, was
    Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 29 of 86
                                               EXHIBIT A




 accepted. (See Exhibit "F"). The Complaint was stamp-ﬁled for December 8, 2022. (See

Exhibit "G").


                                       LEGAL AUTHORI'I'Y

        Section 6C of the Superior Court of Fulton County Standing Order Regarding Electronic

Filing for Civil Cases states in pertinent part:

       Clerk of Court Review: Acceptance/Rejection Procedure. Following submission of an E
       Document, the Clerk of Court shall timely review the E-Document. eFileGA shall notify
       the ﬁling party Via e-mail as to whether the ﬁling was accepted or
                                                                          rejected. Upon
       acceptance, the submitted E-Document shall be entered into the docket of the case. An E
       Document shall be deemed to have been ﬁled as of the date and time it was initially E-
       Filed as deﬁned above in Paragraph 6(A) and not the date and time it was accepted by the
       Clerk of Court. (Example: an E-Document E-Filed at 9: 15 p.m. on Friday 31
                                                                                     August
       2018 and accepted by the Clerk of Court at 3: 18 p.m. on Tuesday 4 September 2018
                                                                                            (the
       ﬁrst business day after 31 August 2018 was ﬁled on 31 August 2018.)


       If an BDocumcnt is rejected by the Clerk of' Court, and a ﬁler Wishes to challenge the
       rejection and/or relate the date of ﬁling back to the date of the ﬁrst ﬁling attempt, the ﬁler
       must petition the Court for such relief.

    Section 6(D)(3) of the Superior Court of Fulton County Standing Order
                                                                              Regarding Electronic

   Filing for Civil Cases states in pertinent part:

       In accordance with Uniform Superior Court Rule 36.16(F), if
                                                                      E-ﬁling or E-Service of an
       E-Document does not occur because of. . .a failure to timely process the edocument when
       received by eFileGA. . .the Court may upon satisfactory proof enter an order
                                                                                    permitting
       the E-Document to be ﬁled nunc pro tunc to the date it was ﬁrst
                                                                         attempted to be
       transmitted electronically.

   Furthermore, O.C.G.A. 15-6-11(b)(4)(e) states in perinate part:

   Any pleading or document ﬁled electronically shall be deemed ﬁled as of the time of its
   receipt by the electronic ﬁling service provider.

                                          CONCLUSION
       In summary, Plaintiff's submission was not timely reviewed and processed
                                                                                     by the Fulton
County Superior Court Clerk's Ofﬁce. Plaintiff originally ﬁled the eDocument on December 2,
   Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 30 of 86
                                            EXHIBIT A




2022; however, Plaintiﬁ' was not made aware of the rejection until December 8, 2022 at 8:49
am. After Plaintiff's counsel was made aware of the rejection, the payment was made within 34
minutes and the ﬁling was ultimately accepted on December 9, 2022.


       WHEREFORE, Plaintiﬁ prays for the following:
   (a) That the Court relate the date of ﬁling back to the date of the ﬁrst ﬁling attempt, which is
       December 2, 2022; and

   (b) Direct that the Complaint be stampﬁled with the date of December 2, 2022.


         This 12rh day of December, 2022.

                                               Sincerely,

                                               LAW OFFICE OF TAMARA ANSARI, LLC

                                               /s/ Tamara Ansari
                                               Tamara Ansari
                                               Georgia Bar Number 053696
                                               Attorney for Plaintiff

  30 Second Street
  Jackson, Georgia 30233
  (844) 945-5488 phone
                  -




  (404) 601-3891 fax
                  -




  tamara®tansarilaw.com
    Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 31 of 86
                                               EXHIBIT A




                         IN THE SUPERIOR COURT OF FIILTON COUNTY
                                          STATE OF GEORGIA
                                                     )
  AUDREY STEPHENS,                                   )
                                                     )
        Plaintiﬂ',                                  )
  VS-                                               )
                                                           CIVIL ACTION FILE NO.
                                                    )
  JACK EDWARD WALL, GUSTAVO                         )
  JIMENEZ, INC. DBA SOUTHWEST                                      2022CV37369 7
                                                    )
  FREIGHT LINES, and BERKLEY
  PRIME TRANSPORTATION                              )
  INSURANCE COMPANY,                                )
                                                    )

        Defendants.                                 )



                                       PROPOSED ORDER
         Plaintiff having moEed the Comt for an order to relate the date of ﬁling back to the date

Ofthe ﬁrst ﬁling attempt, Which is December 2, 2022; and direct that the
                                                                           Complaint be stamp-
ﬁled with the date of December 2, 2022.

         IT IS HEREBY ORDERED that the ﬁling date be related back to the ﬁrst
                                                                                    ﬁling attempt
which is December 2, 2022, and the Complaint be stamp-ﬁled with the date Of December
                                                                                            2,
2022.


This             day of December, 2022.



Honorable Judge
Superior Court of Fulton County




                                                                                                 EXHIBIT
  Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 32 of 86
                                   EXHIBIT A




Presented by: LAW OFFICE OF TAMARA ANSARI, LLC


                                     /s/ Tamara Ansari
                                     Tamara Ansari
                                     Georgia Bar Number 053696
                                     Attorney for Plaintiff

 3O Second Street
 Jackson, Georgia 30233
 (844) 945-5488 phone
                




 (404) 601-3891 fax
                




 tamara@tansarilaw.com
        Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 33  of 86
                                                                   Fulton County Superior Court
                                             EXHIBIT A                                         ***EFILED***QW
                                                                                       Date: 1/3/2023 10:15 AM
                                                                                      Cathelene Robinson, Clerk

                       IN THE SUPERIOR COURT OF FULTON COUNTY
                                        STATE OF GEORGIA
                                                   )
  AUDREY STEPHENS,                                 )
    Plaintiff,                                     )

  vs.                                              )
                                                   )
                                                         CIVIL ACTION FILE NO.
  JACK EDWARD WALL, GUSTAVO                        )
  JIMENEZ, INC. DBA SOUTHWEST                      )
  FREIGHT LINES, and BERKLEY
                                                   )              2022CV373697
  PRIME TRANSPORTATION
  INSURANCE COMPANY,                               )
        Defendants.                                )
                                                   )


                                             ORDER
         Plaintiff having moved the Court for an order pursuant to O.C.G.A. §15-6-11(e), and

having shown good cause, IT IS HEREBY ORDERED that the Complaint in the above-styled

case is deemed filed on December 2, 2022, the time of its receipt by the electronic filing service

provider.

         SO ORDERED this _28th__ day of December, 2022.



                                                          __________________________
                                                          Honorable Judge Charles M. Eaton, Jr.
                                                          Superior Court of Fulton County
    Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 34 of 86
                                    EXHIBIT A




Presented by: LAW OFFICE OF TAMARA ANSARI, LLC


                                      /s/ Tamara Ansari
                                      Tamara Ansari
                                      Georgia Bar Number 053696
                                      Attorney for Plaintiff

 30 Second Street
 Jackson, Georgia 30233
 (844) 945-5488 - phone
 (404) 601-3891 - fax
 tamara@tansarilaw.com
      Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 35 of 86
                                               EXHIBIT A
                                                                                        CLERK OF SUPERIOR COURT
                                                                                        FULTON COUNTY, GEORGIA
                                                                                        2022CV373697
                   IN THE SUPERIOR COURT OF FULTON COUNTY
                                                                                         FEB 07, 2023 02:24 PM
                                       STATE OF GEORGIA

   AUDREY STEPHENS,                               )    CIVIL ACTION FILE NO.
                                                  )
      Plaintiff,                                  )    2022CV373697
                                                  )
   vs.                                            )
   WALL JACK;                                     )
   GUSTAVO JIMENEZ INC.,                          )    JURY TRIAL DEMAND
   D/B/A SOUTHWEST FREIGHT                        )
   LINES; BERKLEY                                 )
   TRANSPORTATION                                 )
   INSURANCE COMPANY                              )
       Defendants.                                )
                                                  )
                                                  )
                                                  )
                                                  )
                                                  )
                                                  )
                                                  )
                                                  )

                                   ENTRY OF APPEARANCE

       COMES NOW, Counsels for Plaintiff, listed below, in the above-mentioned case, who
hereby enters their appearance pursuant to Rule 4.2 of the Uniform Superior Court Rules, and
shows that any and all discovery, orders, notices, and/or other related materials should be sent to the
address herein below.


       Respectfully submitted this __7th___ day of February 2023.




                                                 LAW OFFICE OF KIMBERLY BANDOH

                                                 /s/ Kimberly Bandoh
                                                 Kimberly Bandoh
                                                 Georgia Bar Number 142232
                                                 Attorney for Plaintiff
                                                 kim@bandohlaw.com
                                                  1
Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 36 of 86
                             EXHIBIT A
                                                          CLERK OF SUPERIOR COURT
                                                          FULTON COUNTY, GEORGIA
                                                           2022CV373697
                                                           FEB 17, 2023 01:03 PM
Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 37 of 86
                             EXHIBIT A
                                                          CLERK OF SUPERIOR COURT
                                                          FULTON COUNTY, GEORGIA
                                                           2022CV373697
                                                           FEB 13, 2023 02:11 PM
      Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 38 of 86
                                              EXHIBIT A




                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

AUDREY STEPHENS,

       Plaintiff,

v.                                                    Civil Action File No: 2022CV373697

JACK EDWARD WALL, GUSTAVO
JIMENEZ, INC. DBA SOUTHWEST
FREIGHT LINES, and BERKLEY PRIME
TRANSPORTATION INSURANCE
COMPANY,

       Defendants.

                     NOTICE OF FILING OF NOTICE OF REMOVAL

TO:    Clerk, Superior Court of Fulton County, Georgia

       COMES NOW Defendant Gustavo Jimenez, Inc. dba Southwest Freight Lines

(“Defendant”), a named Defendant in the above-styled civil action, and, by and through its

undersigned counsel of record, provides the following notice to the Court:

       In compliance with 28 U.S.C. § 1446(d), you are hereby notified of Defendant’s filing of

a Notice of Removal in this action with the United States District Court for the Northern District

of Georgia, Atlanta Division with the consent and approval of Defendants Jack Edward Wall and

Berkley Prime Transportation Insurance Company, which consent and approval was given to

their undersigned counsel. A copy of the Notice of Removal to be filed by Defendant the same

day as the filing hereof is attached hereto as Exhibit “A.”

       Pursuant to 28 U.S.C. §1446(d), this Court is precluded from taking any further action

with respect to this case unless and until the same is remanded back to this Court by order of the

United States District Court for the Northern District of Georgia.
     Case 1:23-mi-99999-UNA Document 785-1 Filed 03/13/23 Page 39 of 86
                                           EXHIBIT A




       Submitted this 13th day of March, 2023.

                                                 MCANGUS GOUDELOCK & COURIE,
                                                 LLC

Post Office Box 57365                            /s/Melody C. Kiella
270 Peachtree Street, NW, Suite 1800 (30303)     Melody C. Kiella
Atlanta, Georgia 30303                           Georgia Bar No. 206275
(678) 510-1526                                   Camille Dizon
Melody.kiella@mgclaw.com                         Georgia Bar No. 953073
Camille.Dizon@mgclaw.com
                                                 Attorneys for Defendants




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                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

AUDREY STEPHENS,

       Plaintiff,

v.                                                   Civil Action File No: 2022CV373697

JACK EDWARD WALL, GUSTAVO
JIMENEZ, INC. DBA SOUTHWEST
FREIGHT LINES, and BERKLEY PRIME
TRANSPORTATION INSURANCE
COMPANY,

       Defendants.

                                CERTIFICATE OF SERVICE

       This is to certify that the undersigned has served a true and correct copy of the foregoing

document upon Plaintiff via electronic filing and via email, addressed as follows:

                                     Tamara Ansari, Esq.
                               Law Office of Tamara Ansari, LLC
                                       30 Second Street
                                   Jackson, Georgia 30233
                                   tamara@tansarilaw.com


       Submitted this 13th day of March, 2023.

                                                  MCANGUS GOUDELOCK & COURIE,
                                                  LLC

Post Office Box 57365                             /s/Melody C. Kiella
270 Peachtree Street, NW, Suite 1800 (30303)      Melody C. Kiella
Atlanta, Georgia 30303                            Georgia Bar No. 206275
(678) 510-1526                                    Camille Dizon
Melody.kiella@mgclaw.com                          Georgia Bar No. 953073
Camille.Dizon@mgclaw.com
                                                  Attorneys for Defendants




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

AUDREY STEPHENS,

         Plaintiff,

v.                                                    Civil Action File No:

JACK EDWARD WALL, GUSTAVO
JIMENEZ, INC. DBA SOUTHWEST
FREIGHT LINES, and BERKLEY
PRIME TRANSPORTATION
INSURANCE COMPANY,

         Defendants.

          DEFENDANT GUSTAVO JIMENEZ, INC. DBA SOUTHWEST
                FREIGHT LINES’ NOTICE OF REMOVAL

         COMES         NOW       Defendant,      GUSTAVO          JIMENEZ,        INC.     DBA

SOUTHWEST FREIGHT LINES (“SWFL”), A named Defendant in the above-

styled civil action, and, by and through its undersigned counsel and with the

consent and approval of Defendants Jack Edward Wall (“Wall”) and Berkley

Prime Transportation Insurance Company1 (“BP”), which consent and approval

was given to the undersign counsel (which counsel represents all named

1    Defendant SWFL contends Defendant BP is an improper party to this action as it did not issue
     the commercial auto policy in effect at the time of the incident that forms the basis of
     Plaintiff’s Complaint and, more specifically, the direct action claim asserted against BP. As
     stated on the Declarations Page of the subject policy, non-party Berkley Casualty Company
     issued the relevant policy.
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Defendants in this action), petitions this Court for removal of the action herein

from the Superior Court of Fulton County to the United States District Court for

the Northern District of Georgia, Atlanta Division, respectfully showing this Court

as follows:

                     I.     THE STATE COURT ACTION

                                           1.

      On December 2, 2022, Plaintiff Audrey Stephens filed her personal injury

Complaint in the Superior Court of Fulton County, Georgia, thereby initiating a

civil action styled as follows: Audrey Stephens v. Jack Edward Wall, Gustavo

Jimenez, Inc. dba Southwest Freight Lines, and Berkley Prime Transportation

Insurance Company; Civil Action File No. 2022CV373697 (the “State Court

action”). (True and correct copies of all process and pleadings obtained by counsel

for Defendants in connection with the State Court action are attached hereto and

incorporated herein as Exhibit “A”). Defendants SWFL is filing its Answer to

Plaintiff’s Complaint contemporaneously herewith (along with Defendant BP),

within the time permitted under 28 U.S.C. § 1446.

                                           2.

      Plaintiff’s claims asserted against Defendants in this action arise from a

motor vehicle collision involving vehicles operated by Plaintiff and a tractor-trailer

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operated by Defendant Wall, which collision occurred on December 7, 2020 in

Fulton County, Georgia. (See Ex. A, Complaint, ¶¶ 7-10).

                 II.    SERVICE OF PROCESS ON DEFENDANTS

                                                  3.

        On February 9, 2023, Defendant SWFL received an email from All

American Agents of Process (“All American”) acting as its blanket process agent2

authorized to accept service of process on its behalf in any state that it traverses

while operating as an authorized motor carrier. In this email, All American notified

SWFL that its Georgia office received a copy of Plaintiff’s Summons and

Complaint in its capacity as SWFL’s blanket agent (which it would mail to SWFL)

and attached an email copy of the relevant pleadings. (See a true and correct copy

of the February 9, 2023 email and the attachments thereto attached hereto and

made a part hereof as Exhibit “B”). This email stated, “(Id., p. 1). Defendant

SWFL received a certified mail copy of the Summons and Complaint from All

American on March 9, 2023. (See a true and correct copy of a March 9, 2023 email

from SWFL’s Director of Safety stating “[w]e just received this civil action

summons today via mail” and attached a complete copy of the package received.

2   Per 49 C.F.R. § 366.5, a motor carrier may designate a blank process agent to accept service
    or process on its behalf in all states it traverses during its operations so long as such company
    is registered with and approved by the FMCSA as a blanket process agent.

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(See a true and correct copy of the March 9, 2023 email and the attachments

thereto attached hereto and made a part hereof as Exhibit “C”).

                                            4.

      On February 13, 2023, a Sheriff’s Entry of Service was filed in the State

Court action, which states that Defendant SWFL was served with Plaintiff’s

Complaint via All American’s Georgia office on February 9, 2023. (See Exhibit A,

Entry of Service). Thus, Defendant SWFL’s answer to Plaintiff’s Complaint filed

this Monday, March 13, 2023 is timely. See O.C.G.A. § 1-3-1(d)(3) (“when a

period of time measured in days . . . is prescribed for the exercise of any privilege

or the discharge of any duty, the first day shall not be counted but the last day shall

be counted; and, if the last day falls on Saturday or Sunday, the party . . . shall have

through the following Monday to exercise the privilege or to discharge the duty.”).

                                            5.

      On February 17, 2023, a Sheriff’s Entry of Service was filed in the State

Court action purporting to show that Defendant BP was served with Process and a

copy of Plaintiff’s Complaint via CT Corp., 289 South Culver Street,

Lawrenceville, Georgia 30046 on February 10, 2023. (See Ex. A, Entry of

Service).




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                                          6.

      Contrary to the information reflected in the foregoing Entry of Service,

Defendant BP does not operate in Georgia and does not maintain any registered

agent in the State of Georgia. Such information can easily be obtained via the

Georgia Secretary of State’s Corporations Division website, which, if searching for

Defendant BP’s registered agent and corporate information therein, would see a

“no results” pop-up. Because Defendant BP has no registered agent in Georgia,

there is no possibly way Defendant BP could have been validly served with

process as reflected in the February 17th Entry of Service. However, to the extent

the foregoing Entry of Service is deemed proper service on Defendant BP (which it

is not), Defendant BP’s answer to Plaintiff’s Complaint filed this Monday, March

13, 2023 is timely. O.C.G.A. § 1-3-1(d)(3)

                                          7.

      Defendant Wall has not been served with process at his residence (located in

the State of Texas) as of the date of the filing of this Notice of Removal, and no

affidavit of service or other document reflecting any such service has been filed in

the State Court action.




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                                                      8.

        Because Defendant SWFL, with the consent of Defendants BP and Wall, is

filing this Notice of Removal within thirty (30) days of All American being

“served” with process as this Defendant’s blanket agent and within thirty (30) days

of the purported service on BP’s non-existent Georgia agent3, this Notice of

Removal is timely pursuant to 28 U.S.C. § 1446(b). Bailey v. Janssen

Pharmaceutica, Inc., 536 F.3d 1202 (11th Cir. 2008).

                           III.    DIVERSITY OF THE PARTIES

                                                      9.

        Plaintiff is an individual domiciled in and a citizen of the State of Georgia

and, upon information and belief, resides within the Northern District of Georgia.

(See Ex. A, Complaint, ¶ 1). 28 U.S.C. § 1332(c)(1).

                                                      10.

        Defendant Wall is an individual domiciled in and a citizen of the State of

Texas. (See Ex. A, Complaint, ¶ 2). 28 U.S.C. § 1332(c)(1).




3   As outlined above, Defendants SWFL and BP were required to file their answer or responsive pleading to
    Plaintiff’s Complaint on Saturday, March 11, 2023 and Sunday, March 12, 2023, respectively. However,
    pursuant to Georgia and Federal procedure, their deadline was extended through Monday, March 13, 2023 per
    O.C.G.A. § 1-3-1(d)(3) and/or Fed. R. Civ. P. 6(a).


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                                           11.

      Defendant SWFL is an authorized for-hire interstate motor carrier organized

and existing under the laws of the State of Texas, maintains its principal (and only)

place of business at 11991 Transpark Road, El Paso, Texas 79927, and can be

served with process through Guistavo Jimenez at its principal office in El Paso,

Texas. (See a true and correct copy of Gustavo Jimenez, Inc.’s 1994 Articles of

Incorporation, SWFL’s 2014 Assumed Name Certificate, SWFL’s most recent

Texas Annual Report, and SWLF’s FMCSA Safer Company Snapshot collectively

attached hereto and made as Exhibit “D”). This Defendant may also be served with

process in the State of Georgia through All American’s Georgia agent Cody B.

Gillies at 5704 Veterans Parkway, Columbus, Georgia 31904 (as outlined above).

(See a true and correct copy of Defendant SWFL’s Licensing and Insurance Public

Details publicly available via the FMCSA’s Safer database showing All American

as its “Blanket Company” and All American’s list of process agents by state

collectively attached hereto as Exhibit “E”).

                                           12.

      SWFL’s designation of All American as its Georgia blanket process agent

authorized to accept process on its behalf (as required by the FMCSA) does not

render SWFL a citizen of the State of Georgia for diversity purposes. See Barnett

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v. Norfolk & Dedham Mut. Fire Ins. Co., 773 F. Supp. 1529, 1531 (N.D. Ga. 1991)

(“the mere fact that a corporation is doing business or is licensed to do business in

a state does not make it a citizen of that state for purposes of diversity

jurisdiction.”). Accordingly, because Defendant SWLF is incorporated in and

maintains its principal place of business in the State of Texas, SWFL is deemed to

be a citizen of the State of Texas. See 28 U.S.C. § 1332(c)(1) (a “corporation shall

be deemed to be a citizen of any state by which it has been incorporated and of the

state where it has its principal place of business[.]”); Howell v. QS of Ga., LLC,

2007 U.S. Dist. LEXIS 105371, *4 (N.D. Ga. 2007).

                                          13.

      Contrary to the allegations in Plaintiff’s Complaint, BP did not issue the

Commercial Lines Policy providing coverage to Defendant SWFL at the time of

the collision at issue in this action. Rather, such policy was issued by non-party

Berkley Casualty (and not Defendant BP). (See a true and correct copy of pertinent

portions of the Commercial Lines policy issued by non-party Berkley Casualty

through Defendant BP attached hereto as Exhibit “F”). As a result, Defendant BP

is an improper party to this action and should be substituted for non-party Berkley

Casualty.




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                                           14.

      Defendant BP is a Florida entity that maintains its principal office at 5011

Gate Parkway, Bldg. 200, Suite 200, Jacksonville, Florida 32256. (Ex. F, p. 1; see

also a true and accurate copy of BP’s contact information attached hereto and

made a part hereof as Exhibit “G”). Defendant BPD does not maintain a registered

agent in and does not transact business in the State of Georgia; thus, Plaintiff’s

attempt to serve Defendant BP via CT Corporation in Georgia was improper and

does not constitute valid service of process. (See Paragraphs 5 and 6 above).

However, to the extent this Court deems the citizenship of Defendant BP for

diversity purposes, Defendant BP is a citizen of the State of Florida.

                                           15.

      Non-party Berkley Casualty (the insurer that issued the relevant policy to

Defendant SWFL, as clearly indicated on such policy) is an Iowa insurance

corporation that maintains its principal office at One Metroplex Drive, Suite 500,

Birmingham, Alabama 35266. (See a true and correct copy of non-party Berkley

Casualty’s 2022 Florida Annual Report and Exhibit 21 of W.R. Berkley

Corporation’s SEC Form K-10 collectively attached hereto and made a part hereof

as Exhibit “H”). Accordingly, to the extent Berkley Casualty is substituted in place

of Defendant BP with regard to Plaintiff’s direct action claim, which claim is based

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solely on the insurance policy issued by non-party Berkley Casualty, Defendant BP

is deemed a citizen of the States of Iowa and Alabama.

                                            16.

      As outlined above, (a) Plaintiff is a citizen of Georgia; (b) SWFL is a citizen

of Texas; (c) Wall is a citizen of Texas; (d) BP is a citizen of Florida; and (e) to the

extent non-party Berkley Casualty is substituted in place of the improperly named

Defendant BP, it is deemed a citizen of Iowa and Alabama. Accordingly, complete

diversity exists for purposes of satisfying § 1332(a). See Carden v. Arkoma

Assocs., 494 U.S. 185, 187 (1990) (all plaintiffs must be diverse from all

defendants for diversity jurisdiction); see also Palmer v. Hosp. Auth. of Randolph

Cnty., 22 F.3d 1559, 1564 (11th Cir. 1994) (“Diversity jurisdiction, as a general

rule, requires complete diversity—every plaintiff must be diverse from every

defendant.”).

                      IV.    AMOUNT IN CONTROVERSY

                                            17.

      This personal injury action arises out of a December 7, 2020 motor vehicle

collision involving a tractor-trailer operated by Defendant Wall as an employee of

Defendant SWFL and a Honda Accord operated by Plaintiff on I-20 West near its

intersection with I-285 in Fulton County, Georgia. (See Ex. A, Complaint, ¶ 7).

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                                Plaintiff’s Complaint

                                           18.

      Plaintiff alleges in her Complaint that, while she was traveling straight in the

third lane on I-20 West, Defendant Wall entered into her lane and collided with her

vehicle. (See Ex. A, Complaint, ¶ 7-10).

                                           19.

      Plaintiff claims Defendant Wall was negligent and/or negligent per se in

failing to (i) maintain control of the tractor-trailer, (ii) keep a proper lookout,

(iii) maintain his lane, (iv) operate the tractor-trailer “in accord with generally

accepted safety principles and practices of the trucking industry,” and (v) operate

the tractor-trailer “as a reasonable and product professional driver under the

circumstances.” (See Ex. A, Complaint, ¶¶ 15-17).

                                           20.

      Plaintiff further contends that Defendant SWFL (i) is vicariously liable for

the alleged negligence of Defendant Wall; (ii) was negligent in hiring, training,

retaining, supervising and entrusting the tractor-trailer to Defendant Wall as it

knew or should have known that hiring Wall “to operate on public roadways

created a high degree of probability of injury to others;” and (iii) was

negligent/negligent per se in allowing Wall to operate the tractor-trailer in violation

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of “promulgated standards of care,” industry standards, and/or applicable Federal

regulations. (See Ex. A, Complaint, ¶¶ 19-22, 25-26).

                                            21.

      According to Plaintiff, the alleged negligence of Defendants Wall and

SWFL caused (i) the collision; (ii) Plaintiff to suffer (a) personal injuries, including

“injuries to the cervical spine, lumbar spine, and thoracic spine, including

herniated discs, disc protrusions, [and] disc bulges,” (b) “extensive pain and

suffering directly affecting her quality of life,” and (c) mental anguish she

continues to endure; (iii) Plaintiff to incur medical expenses totaling $25,882.72,

and will continue causing her to incur medical expenses in the future; and

(iv) Plaintiff to be unable to work and, as a result, suffer past and future lost wages.

(See Ex. A, Complaint, ¶¶ 16, 21, 27-28, 39-43). She further contends that

Defendants Wall and SWFL acted with willful misconduct, malice, wantonness,

oppression, or an entire want of care sufficient to raise the presumption of

conscious indifference to the consequences sufficient to support an award of

punitive damages. (Id., ¶ 45-46).

                                            22.

      Based on the foregoing, Plaintiff’s Complaint prays that she recover

(i) damages “to compensate Plaintiff for her pain and suffering, past, present,

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and future, which sums exceed the amount of $75,000.00;” (ii) past and future

medical expenses; (iii) past and future lost wages; and (iv) damages to compensate

for other economic and non-economic losses proven at trial. (Id. at pp. 8-9,

Plaintiff’s Prayer of Relief) (emphasis added).

                       Amount in Controversy in this Action

                                           23.

       To determine whether the jurisdictional threshold of $75,000.00 is met, the

Court must assume the Plaintiff will “prevail” on all claims, and then assess

whether “an award below the jurisdictional amount would be outside the range of

permissible awards because the case is clearly worth more than [$75,000.00].”

Burns v. Windsor, Inc., 31 F.3d 1092, 1096 (11th Cir. 1994); St. Paul Indemnity

Co. v. Cab Co., 303 U.S. 283, 288 (1937).

                                           24.

             Plaintiff’s Complaint shows that the amount in controversy in this

action exceeds $75,000 exclusive of interests in costs. First, Plaintiff claims that a

collision caused her to suffer injuries to her spine and significant pain and also

caused her to incur past and future medical expenses and past and future lost

wages. Second, Plaintiff alleges that Defendants’ conduct supports an award of

punitive damages. Lastly, Plaintiff’s Complaint specifically states that the amount

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in controversy exceeds $75,000. Accordingly, the nature and extent of Plaintiff’s

alleged injuries and damages and Plaintiff’s allegations that such damages exceed

this Court’s jurisdictional limit clearly satisfy the amount in controversy

requirement. See Cheatwood v. Quicktrip Corp., 2014 U.S. Dist. LEXIS 153222,

*5 (N.D. Ga. 2014) (it may be “facially apparent” from the complaint that the

amount in controversy exceeds $75,000[.]” (citing Williams v. Best Buy Co., Inc.,

269 F.3d 1316, 1319 (11th Cir. 2001)); Enter. Leasing Co. of Georgia, LLC, 818 F.

App'x 880, 883 (11th Cir.2020).

            REMOVAL BASED ON DIVERSITY JURISDICTION
                     IS PROPER IN THIS CASE

                                             25.

      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1332(a)

and 1441 because (i) complete diversity exists between the named parties to this

action, and (ii) the amount in controversy exceeds $75,000.00.

                                             26.

      By service of a copy of this Notice of Removal, as evidenced by the

Certificate of Service attached hereto, Defendant SWFL, with the consent and

agreement of Defendants Wall and BP, hereby gives notice of such removal to

Plaintiff as required by 28 U.S.C. § 1446.


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                                            27.

       A true and correct copy of this Notice of Removal will be filed with the

Clerk of the Superior Court of Fulton County, Georgia, as required by 28 U.S.C. §

1446(d).

                                            28.

       Nothing stated herein shall be deemed an admission by this Defendant or on

behalf of any other Defendant as to liability, causation, and/or damages owed to

Plaintiff.

       WHEREFORE, Defendant prays that (a) the above-captioned lawsuit be

removed to the United States District Court for the Northern District of Georgia,

Atlanta Division, (b) this Court take cognizance and jurisdiction over this action

from the Superior Court of Fulton County, Georgia, and (c) this action proceed as

removed and under this Court’s jurisdiction pursuant to 28 U.S.C. § 1332.

       The undersigned has read this Notice of Removal and, to the best of her

knowledge, information, and belief, formed after reasonable inquiry, has

determined it is well-grounded in fact, is warranted by existing law, and is not

interposed for any improper purpose, such as to harass or to cause unnecessary

delay or needless increase in the cost of litigation.




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     Submitted this 13th day of March, 2023.

                                         MCANGUS     GOUDELOCK           &
                                         COURIE, LLC

Post Office Box 57365                    /s/Melody C. Kiella
270 Peachtree Street, NW, Suite 1800     Melody C. Kiella
(30303)                                  Georgia Bar No. 206275
Atlanta, Georgia 30303                   Camille Dizon
(678) 510-1526                           Georgia Bar No. 953073
Melody.kiella@mgclaw.com
Camille.Dizon@mgclaw.com                 Attorneys for Defendants




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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

AUDREY STEPHENS,

      Plaintiff,

v.                                            Civil Action File No:

JACK EDWARD WALL, GUSTAVO
JIMENEZ, INC. DBA SOUTHWEST
FREIGHT LINES, and BERKLEY
PRIME TRANSPORTATION
INSURANCE COMPANY,

      Defendants.

                         CERTIFICATE OF SERVICE

      This is to certify that the undersigned has served a true and correct copy of

the foregoing document upon Plaintiff via electronic filing addressed as follows:

                              Tamara Ansari, Esq.
                        Law Office of Tamara Ansari, LLC
                                30 Second Street
                            Jackson, Georgia 30233
                            tamara@tansarilaw.com

      I further certify that the foregoing has been prepared with Times New

Roman, 14 point font, in compliance with L.R. 5.1(b).




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     Submitted this 13th day of March, 2023.

                                         MCANGUS     GOUDELOCK           &
                                         COURIE, LLC

Post Office Box 57365                    /s/Melody C. Kiella
270 Peachtree Street, NW, Suite 1800     Melody C. Kiella
(30303)                                  Georgia Bar No. 206275
Atlanta, Georgia 30303                   Camille Dizon
(678) 510-1526                           Georgia Bar No. 953073
Melody.kiella@mgclaw.com
Camille.Dizon@mgclaw.com                 Attorneys for Defendants




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                      IN THE SUPERIOR COURT OF FULTON COUNTY
                                  STATE OF GEORGIA

 AUDREY STEPHENS,

        Plaintiff,

 v.                                                   Civil Action File No: 2022CV373697

 JACK EDWARD WALL, GUSTAVO
 JIMENEZ, INC. DBA SOUTHWEST
 FREIGHT LINES, and BERKLEY PRIME
 TRANSPORTATION INSURANCE
 COMPANY,

        Defendants.

DEFENDANT GUSTAVO JIMENEZ, INC. DBA SOUTHWEST FREIGHT LINES’ AND
   ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

       COMES NOW Defendant Gustavo Jimenez dba Southwest Freight Lines (this

“Defendant”), a named Defendant in the above-styled civil action, and, by and through its

undersigned counsel, hereby files its Answer and Affirmative Defenses to Plaintiff’s Complaint,

showing the Court as follows:

                                        FIRST DEFENSE

       Plaintiff’s Complaint fails to state or set forth, in whole or in part, claims against this

Defendant upon which relief may be granted.

                                      SECOND DEFENSE

       Pending further investigation and discovery, plaintiff’s claims are barred by the applicable

statute of limitations and/or the doctrines of laches, waiver, or unclean hands.

                                       THIRD DEFENSE

       This Defendant breached no duty of care owed to Plaintiff.




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                                       FOURTH DEFENSE

       This Defendant was not negligent in hiring, training, retaining, supervising, and/or

entrusting the tractor-trailer to Defendant Wall.

                                        FIFTH DEFENSE

       Pending further investigation and discovery, this Court lacks jurisdiction over this

Defendant as the statute of limitations period expired on December 7, 2022 and Plaintiff’s act of

causing service of process on this Defendant on February 9, 2023 does not amount to a diligent

attempt to perfect service of process prior to or shortly after the limitations period expired.

                                        SIXTH DEFENSE

       This Defendant did not violate any applicable laws, statutes, ordinances, or regulations at

the time of the subject incident; however, even if it did (which it did not), any such violation was

not the proximate cause of the subject incident and/or was unintentional and in the exercise of

ordinary care

                                      SEVENTH DEFENSE

       No act or omission on the part of this Defendant proximately caused the subject accident

and/or Plaintiff’s alleged injuries and damages.

                                       EIGHTH DEFENSE

       Any damages awarded to Plaintiff should be reduced proportionally based upon the

negligence of Plaintiff, if any, and/or other unnamed responsible parties pursuant to O.C.G.A. §

51-12-33.




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                                       NINTH DEFENSE

       Plaintiff’ alleged medical expenses must be reduced to the extent that such expenses were

incurred in connection with treatment for injuries or conditions which pre-date the subject accident

and/or were not caused by the alleged negligence of Defendants.

                                       TENTH DEFENSE

       Pending further investigation and discovery, Plaintiff could have avoided some or all of

her alleged injuries and damages by exercising ordinary care for her own safety.

                                    ELEVENTH DEFENSE

       Plaintiff’s alleged medical expenses must be reduced to the extent that they exceed

reasonable and customary amounts.

                                     TWELFTH DEFENSE

       Plaintiff’s Complaint, to the extent that it seeks punitive damages, violates these

Defendants’ right to procedural due process under the Fourteenth Amendment of the United States

Constitution and the Constitution of the State of Georgia, and therefore, fails to state a cause of

action and set forth a claim upon which relief can be granted.

                                   THIRTEENTH DEFENSE

       Plaintiff’s Complaint, to the extent that it seeks punitive damages, violates these

Defendants’ right to protection from “excessive fines” as provided in the Eighth Amendment of

the United States Constitution, and Article I, Section 1 of the Constitution of the State of Georgia

and violates these Defendants’ right to substantive due process provided in the Fifth and

Fourteenth Amendments of the United States Constitution and the Constitution of the State of

Georgia.




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                                     FOURTEENTH DEFENSE

        Plaintiff’s claim for punitive damages is barred by the provisions of Article VI of the

Constitution of the United States.

                                      FIFTEENTH DEFENSE

        Pending further investigation and discovery, this Defendant reserves the right to assert all

applicable affirmative defenses provided under the Georgia Civil Practice Act.

                                      SIXTEENTH DEFENSE

        This Defendant responds to the specific allegations contained in Plaintiff’s Complaint as

follows:

                              JURISDICTIONAL ALLEGATIONS

                                                   1.

        This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 1 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                   2.

        This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 2 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                   3.

        In response to the allegations contained in Paragraph 3 of Plaintiff’s Complaint, this

Defendant admits it is a foreign corporation organized and existing under the laws of the State of

Texas, admits it is as an authorized intrastate for-hire motor carrier, admits it maintains its principal

office at the El Paso, Texas address listed in Paragraph 3, admits jurisdiction and venue are proper



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as to this Defendant, and further admits it may be served with process through its blanket

authorized agent, All American Agents of Process, as required by the FMCSA at the address listed

in such Paragraph, but this Defendant denies it is authorized to or does in fact transact business in

the State of Georgia and further denies designating a national/blanket agent that maintains an office

in Georgia renders this Defendant a citizen of the Georgia or amounts to transacting business

therein. To the extent that further response is required, this Defendant deny all allegations

contained therein.

                                                 4.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 4 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                 5.

       This Defendant denies as pled the allegations contained in Paragraph 5 of Plaintiff’s

Complaint.

                                  FACTUAL BACKGROUND

                                                 6.

       This Defendant restates and incorporates, as if fully set forth herein, its response to

Paragraphs 1 through 5 of Plaintiff’s Complaint.

                                                 7.

       In response to the allegations contained in Paragraph 7 of Plaintiff’s Complaint, this

Defendant admits Plaintiff and Defendant Wall were involving in a motor vehicle collision on

December 7, 2020 on I-20 West near its intersection with I-285 in Fulton County, Georgia. To the

extent that further response is required, this Defendant denies all allegations contained therein.



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                                                 8.

       In response to the allegations contained in Paragraph 8 of Plaintiff’s Complaint, this

Defendant denies Defendant Wall was operating a 2001 KW T680 as he was operating a 2012 KW

T860, but this Defendant admits the tractor’s vehicle identification number, the trailer’s tag, and

the US DOT number listed in Paragraph 8 are as listed therein. To the extent that further response

is required, this Defendant denies all allegations contained therein.

                                                 9.

       Upon information and belief, this Defendant admits the allegations contained in Paragraph

9 of Plaintiff’s Complaint.

                                                10.

       In response to the allegations contained in Paragraph 10 of Plaintiff’s Complaint this

Defendant admits, upon information and belief, the tractor operated by Defendant Wall and the

vehicle operated by Plaintiff collided as Defendant Wall was changing lanes, but this Defendant

denies, upon information and belief, that Defendant Wall was negligent in causing the collision.

To the extent that further response is required, this Defendant denies all allegations contained

therein.

                                                11.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 11 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny same.




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                                                12.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 12 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny same.

                   COUNT 1 – NEGLIGENCE OF DEFENDANT WALL

                                                13.

       This Defendant restates and incorporates, as if fully set forth herein, its response to

Paragraphs 1 through 12 of Plaintiff’s Complaint.

                                                14.

       This Defendant admits Defendant Wall owed any duty outlined under applicable law. To

the extent that further response is required, this Defendant denies as pled the allegations contained

in Paragraph 14 of Plaintiff’s Complaint.

                                                15.

       This Defendant denies as pled the allegations contained in Paragraph 15 of Plaintiff’s

Complaint, including Subparagraphs (a), (b), (c), (d), and (e) contained therein.

                                                16.

       This Defendant denies as pled the allegations contained in Paragraph 16 of Plaintiff’s

Complaint.

                                                17.

       This Defendant denies as pled the allegations contained in Paragraph 17 of Plaintiff’s

Complaint.




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     COUNT 2 – RESPONDEAT SUPERIOR, NEGLIGENT HIRING, RETENTION,
           ENTRUSTMENT & SUPERVISION OF DEFENDANT SWFL

                                                 18.

       This Defendant restates and incorporates, as if fully set forth herein, its response to

Paragraphs 1 through 17 of Plaintiff’s Complaint.

                                                 19.

       This Defendant admits the allegations contained in Paragraph 19 of Plaintiff’s Complaint.

                                                 20.

       In response to the allegations contained in Paragraph 20 of Plaintiff’s Complaint, this

Defendant admits it may be vicarious liable for any purported negligent conduct on the part of

Defendant Wall, but this Defendant denies any liability to Plaintiff. To the extent that further

response is required, this Defendant deny as pled all allegations contained therein.

                                                 21.

       This Defendant denies to the allegations contained in Paragraph 21 of Plaintiff’s

Complaint.

                                                 22.

       This Defendant denies to the allegations contained in Paragraph 21 of Plaintiff’s

Complaint.

                                                 23.

       This Defendant denies the allegations contained in Paragraph 23 of Plaintiff’s Complaint,

and specifically denies they was negligent, denies any act or omission on its part caused the subject

accident and/or Plaintiff’ alleged injuries and damages, and further denies any liability to Plaintiff.




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               COUNT 3 – FAILURE TO COMPLY WITH FEDERAL AND
               STATE MOTOR CARRIER SAFETY REGULATIONS AND
                  TRUCKING INDUSTRY STANDARDS OF CARE

                                              24.

       This Defendant restates and incorporates, as if fully set forth herein, its response to

Paragraphs 1 through 23 of Plaintiff’s Complaint.

                                              25.

       This Defendant denies to the allegations contained in Paragraph 25 of Plaintiff’s

Complaint.

                                              26.

       This Defendant denies to the allegations contained in Paragraph 26 of Plaintiff’s

Complaint.

                                              27.

       This Defendant denies the allegations contained in Paragraph 27 of Plaintiff’s Complaint.

                                              28.

       This Defendant denies to the allegations contained in Paragraph 28 of Plaintiff’s

Complaint.

                               COUNT 4 – DIRECT ACTION

                                              29.

       This Defendant restates and incorporates, as if fully set forth herein, its response to

Paragraphs 1 through 28 of Plaintiff’s Complaint.

                                              30.

       This Defendant denies as pled the allegations contained in Paragraph 30 of Plaintiff’s

Complaint.



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                                              31.

       This Defendant denies as pled the allegations contained in Paragraph 31 of Plaintiff’s

Complaint, and specifically denies Defendant BP issued the applicable policy as the policy

specifically states it was issued by non-party Berkley Casualty Company.

                                              32.

       This Defendant denies as pled the allegations contained in Paragraph 32 of Plaintiff’s

Complaint.

                                              33.

       This Defendant denies as pled the allegations contained in Paragraph 33 of Plaintiff’s

Complaint.

                                              34.

       In response to the allegations contained in Paragraph 34 of Plaintiff’s Complaint, this

Defendant admits non-party Berkley Casualty issues a policy to this Defendant that had a policy

number of UAU 6505130-0, but this Defendant denies Defendant BP issued such policy.

                                              35.

       This Defendant denies as pled the allegations contained in Paragraph 35 of Plaintiff’s

Complaint.

                                              36.

       This Defendant deny as pled the allegations contained in Paragraph 36 of Plaintiff’s

Complaint.




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                                           37.

      This Defendant denies as pled the allegations contained in Paragraph 37 of Plaintiff’s

Complaint.

                                           38.

      This Defendant denies as pled the allegations contained in Paragraph 38 of Plaintiff’s

Complaint.

                                 COUNT 5 DAMAGES

                                           39.

      This Defendant denies as pled the allegations contained in Paragraph 39 of Plaintiff’s

Complaint.

                                           40.

      This Defendant denies as pled the allegations contained in Paragraph 39 of Plaintiff’s

Complaint.

                                           41.

      This Defendant denies as pled the allegations contained in Paragraph 41 of Plaintiff’s

Complaint.

                                           42.

      This Defendant denies as pled the allegations contained in Paragraph 42 of Plaintiff’s

Complaint.

                                           43.

      This Defendant denies as pled the allegations contained in Paragraph 43 of Plaintiff’s

Complaint.




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                              COUNT 6 – PUNITIVE DAMAGES

                                                  44.

       This Defendant denies as pled the allegations contained in Paragraph 43 of Plaintiff’s

Complaint.

                                                  45.

       This Defendant denies the allegations contained in Paragraph 45 of Plaintiff’s Complaint,

and specifically denies any liability to Plaintiff for punitive damages.

                                                  46.

       This Defendant denies the allegations contained in Paragraph 46 of Plaintiff’s Complaint,

and specifically denies any liability to Plaintiff for punitive damages

                                                  47.

       In response to Plaintiff’ prayer for relief contained within the unnumbered Paragraph

following Paragraph 46 of Plaintiff’s Complaint, including Subparagraphs (a) – (m) contained

therein, which begins “WHEREFORE, Plaintiff prays . . .,” this Defendant denies all allegations

contained therein and specifically denies any liability to Plaintiff.

                                                  47.

       This Defendant denies each and every allegation contained in Plaintiff’s Complaint not

expressly or specifically admitted herein.

                                                  48.

       This Defendant demands a trial by a jury of 12 as to all issues set forth in Plaintiff’s

Complaint.




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       WHEREFORE, having specifically responded to Plaintiff’s Complaint, this Defendant

respectfully requests that said Complaint be dismissed, that judgment be entered in its favor, and

that it be discharged without costs.

       Submitted this 13th day of March, 2023.

                                                  MCANGUS GOUDELOCK & COURIE,
                                                  LLC

 Post Office Box 57365                            /s/Melody C. Kiella
 270 Peachtree Street, NW, Suite 1800 (30303)     Melody C. Kiella
 Atlanta, Georgia 30303                           Georgia Bar No. 206275
 (678) 510-1526                                   Camille Dizon
 Melody.kiella@mgclaw.com                         Georgia Bar No. 953073
 Camille.Dizon@mgclaw.com
                                                  Attorneys for Defendants




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                      IN THE SUPERIOR COURT OF FULTON COUNTY
                                  STATE OF GEORGIA

 AUDREY STEPHENS,

        Plaintiff,

 v.                                                  Civil Action File No: 2022CV373697

 JACK EDWARD WALL, GUSTAVO
 JIMENEZ, INC. DBA SOUTHWEST
 FREIGHT LINES, and BERKLEY PRIME
 TRANSPORTATION INSURANCE
 COMPANY,

        Defendants.

                                CERTIFICATE OF SERVICE

       This is to certify that the undersigned has served a true and correct copy of the foregoing

document upon Plaintiff via electronic filing and via email, addressed as follows:

                                     Tamara Ansari, Esq.
                               Law Office of Tamara Ansari, LLC
                                       30 Second Street
                                   Jackson, Georgia 30233
                                  tamara@tansarilaw.com


       Submitted this 13th day of March, 2023.

                                                   MCANGUS GOUDELOCK & COURIE,
                                                   LLC

 Post Office Box 57365                             /s/Melody C. Kiella
 270 Peachtree Street, NW, Suite 1800 (30303)      Melody C. Kiella
 Atlanta, Georgia 30303                            Georgia Bar No. 206275
 (678) 510-1526                                    Camille Dizon
 Melody.kiella@mgclaw.com                          Georgia Bar No. 953073
 Camille.Dizon@mgclaw.com
                                                   Attorneys for Defendants




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                      IN THE SUPERIOR COURT OF FULTON COUNTY
                                  STATE OF GEORGIA

 AUDREY STEPHENS,

        Plaintiff,

 v.                                                   Civil Action File No: 2022CV373697

 JACK EDWARD WALL, GUSTAVO
 JIMENEZ, INC. DBA SOUTHWEST
 FREIGHT LINES, and BERKLEY PRIME
 TRANSPORTATION INSURANCE
 COMPANY,

        Defendants.

  BERKLEY PRIME INSURANCE COMPANY’S SPECIAL APPEARANCE ANSWER
        AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

       COMES NOW Berkley Prime Insurance Company (this “Defendant”), a named Defendant

in the above-styled civil action, and, by and through its undersigned counsel, hereby files its

Answer and Affirmative Defenses to Plaintiff’s Complaint, showing the Court as follows:

                                        FIRST DEFENSE

       Plaintiff’s Complaint fails to state or set forth, in whole or in part, claims against this

Defendant upon which relief may be granted.

                                      SECOND DEFENSE

       Pending further investigation and discovery, plaintiff’s claims are barred by the applicable

statute of limitations and/or the doctrines of laches, waiver, or unclean hands.

                                       THIRD DEFENSE

       This Defendant is an improper party to this action as it did not issue the commercial policy

in effect at the time of the collision (as it was issued by non-party Berkley Casualty Company) and

must be disissed.mmmm



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                                       FOURTH DEFENSE

       Plaintiff’s direct action against this Defendant fails as a matter of law.

                                        FIFTH DEFENSE

       Plaintiff has not served this Defendant with process as required under applicable law. As a

result, this Defendant asserts any and all defenses related to process, service or process, invalidity

of service or process, jurisdiction, and venue.

                                        SIXTH DEFENSE

       Any damages awarded to Plaintiff should be reduced proportionally based upon the

negligence of Plaintiff, if any, and/or other unnamed responsible parties pursuant to O.C.G.A. §

51-12-33.

                                      SEVENTH DEFENSE

       Plaintiff’ alleged medical expenses must be reduced to the extent that such expenses were

incurred in connection with treatment for injuries or conditions which pre-date the subject accident

and/or were not caused by the alleged negligence of Defendants.

                                       EIGHTH DEFENSE

       Pending further investigation and discovery, Plaintiff could have avoided some or all of

her alleged injuries and damages by exercising ordinary care for her own safety.

                                        NINTH DEFENSE

       Plaintiff’s alleged medical expenses must be reduced to the extent that they exceed

reasonable and customary amounts.

                                        TENTH DEFENSE

       Plaintiff’s Complaint, to the extent that it seeks punitive damages, violates these

Defendants’ right to procedural due process under the Fourteenth Amendment of the United States



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Constitution and the Constitution of the State of Georgia, and therefore, fails to state a cause of

action and set forth a claim upon which relief can be granted.

                                      ELEVENTH DEFENSE

       Plaintiff’s Complaint, to the extent that it seeks punitive damages, violates these

Defendants’ right to protection from “excessive fines” as provided in the Eighth Amendment of

the United States Constitution, and Article I, Section 1 of the Constitution of the State of Georgia

and violates these Defendants’ right to substantive due process provided in the Fifth and

Fourteenth Amendments of the United States Constitution and the Constitution of the State of

Georgia.

                                      TWELFTH DEFENSE

       Plaintiff’s claim for punitive damages is barred by the provisions of Article VI of the

Constitution of the United States.

                                     THIRTEENTH DEFENSE

       Pending further investigation and discovery, this Defendant reserves the right to assert all

applicable affirmative defenses provided under the Georgia Civil Practice Act.

                                     FOURTEENTH DEFENSE

       This Defendant responds to the specific allegations contained in Plaintiff’s Complaint as

follows:

                             JURISDICTIONAL ALLEGATIONS

                                                 1.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 1 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.



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                                                   2.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 2 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                   3.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 3 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                   4.

       This Defendant denies as pled the allegations contained in Paragraph 4 of Plaintiff’s

Complaint, and specifically denies it may be served with process in Georgia and further denies

jurisdiction and venue are proper as to it.

                                                   5.

       This Defendant denies as pled the allegations contained in Paragraph 5 of Plaintiff’s

Complaint.

                                  FACTUAL BACKGROUND

                                                   6.

       This Defendant restates and incorporates, as if fully set forth herein, its response to

Paragraphs 1 through 5 of Plaintiff’s Complaint.

                                                   7.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 7 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.



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                                                 8.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 8 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same

                                                 9.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 9 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                10.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 10 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                11.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 11 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny same.

                                                12.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 12 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny same.




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                   COUNT 1 – NEGLIGENCE OF DEFENDANT WALL

                                                13.

       This Defendant restates and incorporates, as if fully set forth herein, its response to

Paragraphs 1 through 12 of Plaintiff’s Complaint.

                                                14.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 14 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                15.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 15 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                16.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 16 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                17.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 17 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.




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     COUNT 2 – RESPONDEAT SUPERIOR, NEGLIGENT HIRING, RETENTION,
           ENTRUSTMENT & SUPERVISION OF DEFENDANT SWFL

                                                18.

       This Defendant restates and incorporates, as if fully set forth herein, its response to

Paragraphs 1 through 17 of Plaintiff’s Complaint.

                                                19.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 19 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                20.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 20 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                21.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 21 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                22.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 22 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.




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                                                23.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 33 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

               COUNT 3 – FAILURE TO COMPLY WITH FEDERAL AND
               STATE MOTOR CARRIER SAFETY REGULATIONS AND
                  TRUCKING INDUSTRY STANDARDS OF CARE

                                                24.

       This Defendant restates and incorporates, as if fully set forth herein, its response to

Paragraphs 1 through 23 of Plaintiff’s Complaint.

                                                25.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 25 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                26.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 26 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                27.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 27 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.




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                                                28.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 28 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                COUNT 4 – DIRECT ACTION

                                                29.

       This Defendant restates and incorporates, as if fully set forth herein, its response to

Paragraphs 1 through 28 of Plaintiff’s Complaint.

                                                30.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 30 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                31.

       This Defendant denies as pled the allegations contained in Paragraph 31 of Plaintiff’s

Complaint, and specifically denies this Defendant issued the applicable policy as the policy

specifically states it was issued by non-party Berkley Casualty Company.

                                                32.

       This Defendant denies as pled the allegations contained in Paragraph 32 of Plaintiff’s

Complaint.

                                                33.

       This Defendant denies as pled the allegations contained in Paragraph 33 of Plaintiff’s

Complaint.




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                                                34.

       This Defendant denies as pled the allegations contained in Paragraph 34 of Plaintiff’s

Complaint.

                                                35.

       This Defendant denies as pled the allegations contained in Paragraph 35 of Plaintiff’s

Complaint.

                                                36.

       This Defendant deny as pled the allegations contained in Paragraph 36 of Plaintiff’s

Complaint.

                                                37.

       This Defendant denies as pled the allegations contained in Paragraph 37 of Plaintiff’s

Complaint.

                                                38.

       This Defendant denies as pled the allegations contained in Paragraph 38 of Plaintiff’s

Complaint.

                                     COUNT 5 DAMAGES

                                                39.

       This Defendant denies as pled the allegations contained in Paragraph 39 of Plaintiff’s

Complaint.

                                                40.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 40 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.



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                                                41.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 41 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                42.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 42 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                43.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 43 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                              COUNT 6 – PUNITIVE DAMAGES

                                                44.

       This Defendant restates all allegations contained in Paragraph 1 through 43 of Plaintiff’s

Complaint as if fully set forth herein.

                                                45.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 45 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.




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                                                  46.

       This Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 46 of Plaintiff’s Complaint and, as a result, is unable to

admit or deny the same.

                                                  47.

       In response to Plaintiff’ prayer for relief contained within the unnumbered Paragraph

following Paragraph 46 of Plaintiff’s Complaint, including Subparagraphs (a) – (m) contained

therein, which begins “WHEREFORE, Plaintiff prays . . .,” this Defendant denies all allegations

contained therein and specifically denies any liability to Plaintiff.

                                                  47.

       This Defendant denies each and every allegation contained in Plaintiff’s Complaint not

expressly or specifically admitted herein.

                                                  48.

       This Defendant demands a trial by a jury of 12 as to all issues set forth in Plaintiff’s

Complaint.

       WHEREFORE, having specifically responded to Plaintiff’s Complaint, this Defendant

respectfully requests that said Complaint be dismissed, that judgment be entered in its favor, and

that it be discharged without costs.




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      Submitted this 13th day of March, 2023.

                                                MCANGUS GOUDELOCK & COURIE,
                                                LLC

Post Office Box 57365                           /s/Melody C. Kiella
270 Peachtree Street, NW, Suite 1800 (30303)    Melody C. Kiella
Atlanta, Georgia 30303                          Georgia Bar No. 206275
(678) 510-1526                                  Camille Dizon
Melody.kiella@mgclaw.com                        Georgia Bar No. 953073
Camille.Dizon@mgclaw.com
                                                Attorneys for Defendants




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                                             EXHIBIT A




                      IN THE SUPERIOR COURT OF FULTON COUNTY
                                  STATE OF GEORGIA

 AUDREY STEPHENS,

        Plaintiff,

 v.                                                  Civil Action File No: 2022CV373697

 JACK EDWARD WALL, GUSTAVO
 JIMENEZ, INC. DBA SOUTHWEST
 FREIGHT LINES, and BERKLEY PRIME
 TRANSPORTATION INSURANCE
 COMPANY,

        Defendants.

                                CERTIFICATE OF SERVICE

       This is to certify that the undersigned has served a true and correct copy of the foregoing

document upon Plaintiff via electronic filing and via email, addressed as follows:

                                     Tamara Ansari, Esq.
                               Law Office of Tamara Ansari, LLC
                                       30 Second Street
                                   Jackson, Georgia 30233
                                  tamara@tansarilaw.com


       Submitted this 13th day of March, 2023.

                                                   MCANGUS GOUDELOCK & COURIE,
                                                   LLC

 Post Office Box 57365                             /s/Melody C. Kiella
 270 Peachtree Street, NW, Suite 1800 (30303)      Melody C. Kiella
 Atlanta, Georgia 30303                            Georgia Bar No. 206275
 (678) 510-1526                                    Camille Dizon
 Melody.kiella@mgclaw.com                          Georgia Bar No. 953073
 Camille.Dizon@mgclaw.com
                                                   Attorneys for Defendants




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